DQ`D\ Se 2: 04- c\/- 03042- BBD- -tmp Document 57 Filed 05/24/05 Page 1 of 5 Page|D 61

v§

IN THE UNITED sTATEs DISTRICT COURT §§ ‘§“§j §§
FoR THE WESTERN DISTRICT oF TENNESSEE

 

 

WESTERN DIvIsIoN “ § §§ §~‘ § 3 §§§ 3 l l
)
JOHN ROEBUCK & ASSOCIATES, )
)
Plaintiff`s, ) Case No. 04-3042-DP
)
vs. ) 531 §
> §§ §
JEFF B. ROBERTS, et al, ) '_“-: Q¥
) 233
Defendants. ) _U
- '_ -‘_-.e
AGREED MOTION TO STAY THE COURT’S RULINGS ()N THE VA §l`-§ 53
MOTIONS TO DISMISS PENDING MEDIATION §§ .C

 

 

Defendants Mark L. Smith (“Smith”) and First Missouri National Bank (“First Missouri”)
hereby move the Court for an order to stay its rulings on the various motions to dismiss filed in
this litigation until after the mediation scheduled for .lune 8, 2005, In support, Defendants Srnith

and First Missouri state as follows;

l. Plaintiff John Roebuck & Associates (“Plaintiff”) filed its Complaint in
this Court on December 23, 2004.
2. On February l7, 2005, Defendant N. William Phillips filed a Motion to

Dismiss pursuant to Federal Rule of Civil Procedure lZ(b) on inter alia, grounds of lack of i__n

personam jurisdiction

3. On February 18, 2005, Defendants Jeff Roberts, Dusty Baker, and Larry
Baker filed a Motion to Dismiss pursuant to Federal Rule of Civi] Procedure IZ(b) on inter alia,

grounds of lack of in personam jurisdiction

MOT|ON GRANTEQ_,
m t \_?

 

BERNICE BOU|E DONAELD
This document entered on the docket sheet in com nance U.S. DISTR|CT JUDG

th mine 58 and/or rs(a; FacP on ‘§ ’QL’ §2;{2§ 5" '

Case 2:04-cV-03042-BBD-tmp Document 57 Filed 05/24/05 Page 2 of 5 Page|D 62

4. On February 21, 2005, Defendants Smith and First Missouri filed a
Motion to Dismiss pursuant to Federal Rule of Civil Procedure lZ(b) on inter alia, grounds of
lack of in personam jurisdiction

5. The Court's Pre-Trial Order directed the parties to mediate and the parties
agreed upon Richard Sher, Esquire of the St. Louis, Missouri Bar as a mediator. On June 8,
2005 , the parties Will participate in a mediation in an attempt to resolve this dispute.

6. The parties believe that successful mediation prospects will be enhanced if
the Court stays temporarily, further action on the pending Motions to Disrniss. Accordingly,
Defendants Srnith and First Missouri respectfully request that the Court stay its rulings and
further action by the parties on the pending Motions to Dismiss until after the mediation is
concluded Thereafter, the parties Will promptly notify the Court of the outcome of the
mediation and whether rulings on the pending motions Will be necessary

7. All counsel for record have been consulted and agree to the requested

relief.

  

MQC…

saui,o./Belz _ #4346 >
One Commerce Square, Suite 1700
Memphis, Tennessee 38103

Telephone: (901) 525-1322

AND

Case 2:04-cV-03042-BBD-tmp Document 57 Filed 05/24/05 Page 3 of 5 Page|D 63

Mark G. Stingley

James D. Lawrence
BRYAN CAVE LLP

3500 One Kansas City Place
1200 Main Street

Kansas City, Missouri 64105
Telephone: (816) 374-3200

Attorneys for Defendants First Missouri National
Bank and Mark L. Srnith

CERTIFICATE OF SERVICE

The undersigned hereby certifies that a true and correct copy of the foregoing
Motion and Order were mailed, postage prepaid, to the following on the 20 day of May, 2005
to:

Jarnes F. Horner

Tim Edwards

GLASSMAN, EDWARDS, WADE & WYATT, P.C.
26 N. Second Street

Memphis, TN 38103

David F. Leake

Richard E. Charlton

THE WINCHESTER LAW FIRM
6060 Poplar Ave., Ste. 295
Memphis, TN 38119

Phillip W. Goodwin

Michael F. Saunders

SPENCER, FANE, BRITT & BROWN LLP
1000 Walnut Street, Ste. 1400

Kansas City, MO 64106

Julie M. Burnstein

BOULT, CUMMINGS, CONNERS & BERRY
1600 Division Street, Ste. 700 ¢_//
P.O. Box 340025 ///" /

Nashville, TN 37203
way () /

san C. B@iz "’

  

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CV-03042 was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Tirn Edwards

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38103

Saul C. Belz
GLANKLER BROWN
One Cornmerce Sq.
Ste. 1700

l\/lemphis7 TN 38103

Richard E. Charlton

THE WINCHESTER LAW FIRM
6060 Poplar Avenue

Ste. 295

l\/lemphis7 TN 38119

Mark G. Stingley

LAW OFFICE OF BRYAN CAVE LLP
One Kansas City Place

1200 Main St.

Ste 3500

Kansas City, MO 64105--210

Michael F. Saunders

SPENCER FANE BRITT & BROWNE LLP
1000 Walnut St.

Ste 1400

Kansas City, MO 64106

David F. Leake

THE WINCHESTER LAW FIRM
6060 Poplar Avenue

Ste. 295

l\/lemphis7 TN 38119

Case 2:04-cV-03042-BBD-tmp Document 57 Filed 05/24/05 Page 5 of 5 Page|D 65

Julie M. Burnstein

BOULT CUl\/[M[NGS CONNERS & BERRY
1600 Division St

Ste 700

P.O. Box 340025

Nashville, TN 37203

Phillip W. Goodwin

SPENCER FANE BRITT & BROWNE LLP
1000 Walnut St.

Ste 1400

Kansas City, MO 64106

.l ames D. Lawrence

LAW OFFICE OF BRYAN CAVE LLP
One Kansas City Place

1200 Main St

Ste 3500

Kansas City, MO 64105

.l ames F. Horner

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

